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                        UNITED STATES COURT OF APPEALS
                           FOR THE FEDERAL CIRCUIT
                                    717 MADISON PLACE, N.W.
                                    WASHINGTON, D.C. 20439

 JARRETT B. PERLOW                                                                  CLERK’S OFFICE
  CLERK OF COURT                                                                     202-275-8000
                       2023-1173 - KOSS Corporation v. Bose Corporation

                                NOTICE OF ORAL ARGUMENT

This case has been scheduled for oral argument on February 6, 2024 at 10:00 a.m. Because the
time for notifying the court of any conflict has expired, the case will not be rescheduled absent a
showing of compelling reasons. See Fed. Cir. R. 34.

                       U.S. Court of Appeals for the Federal Circuit
PLACE OF
                       717 Madison Place, N.W., Washington, DC 20439
ARGUMENT
                       Courtroom: Courtroom 201
COUNSEL
                       Counsel must check in at the courtroom between 9:15 and 9:30 a.m.
REGISTRATION
                       Each party must complete and return the Response to Notice of
                       Oral Argument by December 29, 2023. Counsel should review the
                       court's Guide for Oral Argument and Revised Protocols for In-Person
REQUIRED
                       Argument prior to filing the Response. If counsel presenting oral
RESPONSE
                       argument has not yet entered an appearance, counsel must file a motion
                       for leave to appear and attach the proposed entry of appearance form.
                       See Fed. Cir. R. 34(e), 47.3(b)(4).
                       Each side receives 15 minutes (including rebuttal), unless otherwise
                       directed by the court.

                       In cases where one side has multiple parties represented by different
ARGUMENT TIME
                       counsel and firms, counsel should confer and agree on the
                       apportionment of argument time before submitting Responses to the
                       Notice of Oral Argument. Appellants and Cross-Appellants may divide
                       argument between main argument and rebuttal; Appellees may not.
                       Pursuant to the court's Revised Protocols for In-Person Arguments,
REMOTE                 arguing counsel seeking to appear remotely at oral argument must file a
APPEARANCE             motion and accompanying declaration showing good cause within
                       fourteen (14) days of this notice.
                                                       FOR THE COURT




December 15, 2023



                                                       By: M. Lichtenberg, Deputy Clerk
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                              ADDITIONAL INFORMATION
               Requests for any communications-related disability assistance (ASL,
               CART) must be submitted at least two weeks before the date
ACCESSIBILITY
               scheduled for argument. Please refer to the court's website for more
ACCOMMODATIONS
               information about disability-based accommodations during court
               sessions: Accommodation Notice.
                       Live audio streaming of arguments is available online. Oral argument
AUDIO ACCESS           audio files are also posted on the court's website following the
                       conclusion of each day's hearings.
                       Because all arguments are by default open to the public, live streamed
                       online, and recorded for posting on the court's website, counsel should
CONFIDENTIAL
                       be careful not to discuss any sensitive, confidential, or sealed
AND SEALED
                       information during argument. Any motion to seal the courtroom
MATERIAL
                       for oral argument must be filed at least one week before
                       argument.
                       Please plan to allow additional time for security screening. Counsel
                       and others attending argument must show photo identification and
COURT SECURITY
                       pass through security screening upon entering the courthouse.
                       Weapons, food, and beverages are prohibited.
                       Only Federal Circuit bar members and government counsel
                       may sit at counsel tables and address the panel in the
COURTROOM              courtroom. Other individuals must sit in the public gallery unless
SEATING                they are also members of the bar. The courtroom opens one hour
                       before argument begins; general seating is available on a first-come,
                       first-served basis.
                       The digital clock on the podium provides a countdown of the time
                       remaining of your argument, along with color-coded light cues:

DIGITAL CLOCK             •   Green - Within allotted time
                          •   Yellow - Within scheduled rebuttal time (if applicable)
                          •   Red - Time expired


                       Electronic devices must be turned off upon entering a courtroom, but
ELECTRONIC
                       counsel may use electronic devices, including laptops, in silent mode
DEVICES
                       while seated at the counsel tables.
                       The identity of the judges sitting on the panel hearing this case will
IDENTITY OF THE        not be disclosed until the morning of argument. Panel members will be
PANEL                  posted outside of the courtroom and on the court's website the morning
                       of argument.
                       Cases are called in the order listed on the calendar posted outside the
ORDER OF CASES         courtroom and on the court's website. While waiting, counsel should
                       remain in the courtroom or its immediate vicinity.
For additional information about attending oral argument, please visit our website.
